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                    IN THE UNITED STATES DISTRICT COURT FOR THE


                              EASTERN DISTRICT OF VIRGINIA


                                        Alexandria Division

UNITED STATES OF AMERICA


        V.

                                                       No. I:20-cr-82
JOHN WILLIAM KIRBY KELLEY,
                                                                        i -J
       a/k/a "Carl"
                                                                                  JUL2l2QeO
       a/k/a "BolGod"

                                                                           C1 CRK us DIfiTRK.VI COUR!
       Defendant.                                                              A L'iXA 'jR - A V f--'3:NIA




                                    STATEMENT OF FACTS


       The United States and the Defendant, JOHN WILLIAM KIRBY KELLEY (hereinafter

"the Defendant") agree that the allegations in the criminal information and the following facts

are true and correct, and that had the matter gone to trial the United States would have proven

them beyond a reasonable doubt:

        1.     At all times relevant to the criminal information, the Defendant resided in the

Commonwealth of Virginia.

       2.      Beginning in and around August 2018 and continuing until in and around April

2019, in the Eastern District of Virginia and elsewhere, the Defendant did knowingly and

unlawfully combine, conspire, confederate, and agree with John Cameron Denton and other

uncharged co-conspirators including, but not limited to, two foreign nationals (hereinafter "Co-

Conspirator 1" and "Co-Conspirator 2") and a juvenile ("Co-Conspirator 3"), to transmit in

interstate and foreign commerce any communication containing any threat to injure the person of

another, in violation of Title 18, United States Code, Section 875(c), all in violation of Title 18,

United States Code, Section 371.
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